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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA                        *
                                                *
V.                                              *              NO: 4:12CR00293-03 SWW
                                                *
JAMES EARL GAMBLE, JR.                          *
                                                *


                                              ORDER

       Before the Court are Defendant James Earl Gamble, Jr.’s motions seeking release from

custody (ECF No. 173) and “permission, place, time and transportation to meet with the co-

defendants and counsel” (ECF No. 174). After careful consideration, and for reasons that

follow, the motions are denied.

       The superseding indictment charges Defendant with possession with intent to distribute

and conspiracy to possess with intent to distribute cocaine. Following a revocation hearing held

on May 9, 2014, United States Magistrate Jerome T. Kearney revoked Defendant’s pretrial

release. Judge Kearney found that Defendant had repeatedly violated his conditions of release

and that Defendant’s ankle monitor had been removed via intentional tampering.

       Defendant requested a de novo review of Judge Kearney’s detention order.

After a thorough review of the record, the Court found that Defendant had repeatedly violated

his conditions of release and that he intentionally removed his electronic monitoring device. The

Court further found that conditions of release less than pretrial detention will not reasonably

assure Defendant’s appearance. See 18 U.S.C. § 3142(c)(1)(B)(requiring a court to employ the

“least restrictive ... condition, or combination of conditions ... [that will] reasonably assure the

appearance” of a defendant).
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       Defendant now requests that the Court release him pending trial so that he can better

assist his attorney in developing a defense. The reasons for Defendant’s pretrial detention

remain, and the order of detention will continue. Defendant has also filed a motion requesting

that the Court facilitate a meeting between the defendants and attorneys in this case, and he

requests that the Court direct the United States Marshal to transport him to a location where the

proposed conference can take place. The motion is denied.

       IT IS THEREFORE ORDERED that Defendant James Earl Gamble, Jr.’s motion for

release from custody (ECF No. 173) and for a conference with co-defendants and counsel (ECF

No. 174) are DENIED.

       IT IS SO ORDERED THIS 26th DAY OF JANUARY, 2015.


                                             /s/Susan Webber Wright
                                             UNITED STATES DISTRICT JUDGE




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